Case 6:16-CV-06456-C.]S-I\/|WP Document 14 Filed 02/20/17 Page 1 of 1

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

JUANITA AIKENS,

Plaintiff,
v.

WAL-MART STORES, [NC.,

Defendant.

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voLUNTARY DIsMIssAL
PURSUANT To FED. R.
Clv. P. 41(3)(1)(A)(ii)

Civil Action No.
Case No. 6.‘16~cv~06456OCJS

 

IT IS HEREBY STIPULATED AND AGREED by and between the undersigned,

the attorneys of record for the Plaintiff and Defendant in the above-entitled action, that the

above»entitled action is hereby voluntarily dismissed pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii),

with prejudice, as to Defendant.

Dated: Auburn, New York
F<A_ ,20 j 2017

s/ Mic}iae[(Bersani

 

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Dated: Buft`alo, New York

§§ ga ,2017
s/Q"au[ine C. Wi[[

 

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